Case 14-71797-pwb       Doc 272     Filed 11/30/21 Entered 11/30/21 16:40:40              Desc Main
                                   Document      Page 1 of 8



                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                            )   CHAPTER 7
                                                  )
HP/ SUPERIOR, INC.                                )   CASE NO. 14-71797 - PWB
                                                  )
         Debtor.                                  )
                                                  )
                                                  )
S. GREGORY HAYS, Trustee of the Estate of         )   CONTESTED MATTER
HP/Superior, Inc.,                                )
                                                  )
         Objector,                                )
                                                  )
         vs.                                      )
                                                  )
JAMES A. FAUNCE-ZIMMERMAN,                        )
                                                  )
         Claimant.                                )
                                                  )

   NOTICE OF REQUIREMENT OF RESPONSE TO OBJECTION TO PROOF OF
 CLAIM NO. 27-1 FILED BY JAMES A. FAUNCE-ZIMMERMAN, OF DEADLINE FOR
                    FILING RESPONSE, AND OF HEARING

        PLEASE TAKE NOTICE that S. Gregory Hays, Trustee for the estate of HP/Superior,
Inc., has filed an Objection to the above-referenced claim seeking an order to disallow the claim
as a priority Domestic Support Obligation claim and to allow the claim as an unsecured claim in
the amount of $2,775.00 having priority under 11 U.S.C. § 507(a)(7) and as a non-priority,
general unsecured claim in the amount of $330.00.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one.

       If you do not want the court to grant the relief requested, or if you want the court to
consider your views, then on or before January 3, 2022, you or your attorney must:

         (1)    File with the court a written response, explaining your positions and views as to
                why your claim should be allowed as filed. The written response must be filed at
                the following address:




17429497v1
Case 14-71797-pwb       Doc 272     Filed 11/30/21 Entered 11/30/21 16:40:40            Desc Main
                                   Document      Page 2 of 8



                                 Clerk, United States Bankruptcy Court
                                   1340 Richard B. Russell Building
                                       75 Ted Turner Drive, S.W.
                                        Atlanta, Georgia 30303

               If you mail your response to the Clerk for filing, you must mail it early enough so
               that the Clerk will actually receive it on or before the date stated above.

        (2)    Mail or deliver a copy of your written response to the Objector’s attorney at the
               address stated below. You must attach a Certificate of Service to your written
               response stating when, how, and on whom (including addresses) you served the
               response.

         If you or your attorney file a timely response, the Court will hold an initial telephonic
hearing for announcements on the Objection at the following number: toll free number 833-568-
8864; Meeting ID 161 794 3084 at 10:00 a.m. on January 6, 2022 in Courtroom 1401, United
States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. Matters that need to be
heard further by the Court may be heard by telephone, by video conference, or in person, either
on the date set forth above or on some other day, all as determined by the Court in connection
with this initial telephonic hearing. Please review the “Hearing Information” tab on the judge’s
webpage, which can be found under the “Dial-in and Virtual Bankruptcy Hearing Information”
link at the top of the webpage for this Court, www.ganb.uscourts.gov for more information.

        You or your attorney must attend the hearing and advocate your position.

Dated: November 30, 2021                     ARNALL GOLDEN GREGORY LLP

                                             By:/s/ Michael J. Bargar
                                             Michael J. Bargar, Ga. Bar No. 645709
                                             171 17th Street, N.W.
                                             Suite 2100
                                             Atlanta, Georgia 30363-1031
                                             (404) 873-8500
                                             michael.bargar@agg.com

                                             Attorneys for Trustee




                                                2
17429497v1
Case 14-71797-pwb         Doc 272    Filed 11/30/21 Entered 11/30/21 16:40:40         Desc Main
                                    Document      Page 3 of 8




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                          )     CHAPTER 7
                                                )
HP/ SUPERIOR, INC.                              )     CASE NO. 14-71797 - PWB
                                                )
         Debtor.                                )
                                                )
                                                )
S. GREGORY HAYS, Trustee of the Estate of       )     CONTESTED MATTER
HP/Superior, Inc.,                              )
                                                )
         Objector,                              )
                                                )
         vs.                                    )
                                                )
                                                )
JAMES A. FAUNCE-ZIMMERMAN,                      )
                                                )
         Claimant.                              )
                                                )

                     OBJECTION TO PROOF OF CLAIM NO. 27-1 FILED BY
                             JAMES A. FAUNCE-ZIMMERMAN

         COMES NOW S. Gregory Hays, the Chapter 7 Trustee herein (“Trustee”) and objects to Proof

of Claim No. 27-1 filed by the James A. Faunce-Zimmerman (“Claimant”), by showing the Court as

follows:

                                                 1.

         Debtor initiated this case (Case No. 14-71797-PWB) (the “Case”) by filing a voluntary

petition for relief under Chapter 11 of Title 11 of the United States Code on November 3, 2014

(the “Petition Date”).




17429497v1
Case 14-71797-pwb       Doc 272     Filed 11/30/21 Entered 11/30/21 16:40:40            Desc Main
                                   Document      Page 4 of 8



                                                 2.

        On January 6, 2015, Superior Healthcare Investors, Inc. (“Superior”) filed a voluntary

petition for relief under Chapter 11 of Title 11 of the United States Code, initiating Case No. 15-

50439-PWB in the United States Bankruptcy Court, Northern District of Georgia, Atlanta Division

(the “Superior’s Case”).

                                                 3.

        On February 3, 2015, this Court entered an order [Doc. No. 59] authorizing the joint

administration of the Case and Superior’s Case pursuant to 11 U.S.C. § 1015(b).

                                                 4.

        On October 27, 2015, the Court entered an order [Doc. No. 141] directing the appointment

of Chapter 11 trustees on behalf of Debtor and Superior.

                                                 5.

        On October 30, 2015, the Court entered an order [Doc. No. 146] approving Trustee as

Chapter 11 Trustee for Debtor, and on the same day the Court entered an order [Doc. No. 23; Case

No 15-50439-PWB] appointing Cathy L. Scarver as Chapter 11 Trustee in the Superior’s Case.

                                                 6.

        On November 17, 2015, the Court entered an order [Doc. No. 168] converting the Case

and Superior’s Case to cases under Chapter 7 of Title 11 and severing their joint administration.

                                                 7.

        On November 23, 2015, the United States Trustee appointed Trustee as the Chapter 7

Trustee in the Case. [Doc. No. 170]. Trustee held and concluded the Section 341 meeting of

creditors on January 12, 2016, and Trustee is now the permanent Chapter 7 Trustee in the Case.




                                                2
17429497v1
Case 14-71797-pwb         Doc 272      Filed 11/30/21 Entered 11/30/21 16:40:40            Desc Main
                                      Document      Page 5 of 8



                                                     8.

        A Notice (Docket No. 182) was issued on January 25, 2016, setting April 25, 2016 as the

last day to file proofs of claim in this case.

                                                     9.

        On May 7, 2021, a bar order (Docket No. 263) was entered setting June 11, 2021 at the last

day to file Motions Seeking Authorization of Administrative Expense Claims.

                                                     10.

        On February 8, 2016, Claimant filed Claim No. 27-1 as a priority claim for a Domestic

Support Obligation in the amount of $3,105.00 and indicated that the claim was based upon “service

not provided.”

                                                     11.

        Upon information and belief, Claimant may have been a former resident at the Debtor’s St.

Francis location. As such, Claimant would have a consumer deposit priority claim in the amount of

$2,775.00 pursuant to 11 U.S.C. § 507(a)(7). Therefore, the claim should be allowed as a priority,

unsecured claim in the amount of $2,775.00 and as a non-priority, general unsecured claim in the

amount of $330.00.

                                                     12.

        As a result, Trustee objects to the Claim.

        WHEREFORE, Trustee respectfully requests that the Court:

        a) Allow Claim No. 27-1 as an unsecured claim in the amount of $2,775.00 having priority

             under 11 U.S.C. § 507(a)(7) and as a non-priority, general unsecured claim in the

             amount of $330.00; and




                                                     3
17429497v1
Case 14-71797-pwb       Doc 272     Filed 11/30/21 Entered 11/30/21 16:40:40            Desc Main
                                   Document      Page 6 of 8



        b) Grant such other and further relief as the Court may deem just and proper.

        Respectfully submitted, this 30th day of November, 2021.

                                              ARNALL GOLDEN GREGORY LLP

                                              By:/s/ Michael J. Bargar
                                              Michael J. Bargar, Ga. Bar No. 645709
                                              171 17th Street, N.W.
                                              Suite 2100
                                              Atlanta, Georgia 30363-1031
                                              (404) 873-8500
                                              michael.bargar@agg.com

                                              Attorneys for Trustee




                                                 4
17429497v1
Case 14-71797-pwb       Doc 272     Filed 11/30/21 Entered 11/30/21 16:40:40             Desc Main
                                   Document      Page 7 of 8




                                 CERTIFICATE OF SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day

served a true and correct copy of the foregoing Notice Of Requirement Of Response To Objection

To Proof Of Claim No. 27-1 Filed By James A. Faunce-Zimmerman, Of Deadline For Filing

Response, And Of Hearing and Objection To Proof Of Claim No. 27-1 Filed By James A. Faunce-

Zimmerman as set forth below on those persons or entities at the address stated:


First Class Mail:
Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

First Class Mail:
James A. Faunce-Zimmerman
P.O. Box 86
Wascott, WI 54890

First Class Mail:
David S. Weidenbaum
Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

First Class Mail:
S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

First Class Mail:
Ashley Reynolds Ray
Scroggins & Williamson One Riverside, Suite 450
4401 Northside Parkway
Atlanta, GA 30237




17429497v1
Case 14-71797-pwb      Doc 272    Filed 11/30/21 Entered 11/30/21 16:40:40   Desc Main
                                 Document      Page 8 of 8



First Class Mail:
HP/Superior, Inc.
5174 McGinnis Ferry Road
Suite 195
Alpharetta, GA 30005




        This 30th day of November, 2021.

                                               /s/ Michael J. Bargar
                                               Michael J. Bargar
                                               Georgia Bar No. 645709




17429497v1
